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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                               PANAMA CITY DIVISION


UNITED STATES OF AMERICA

vs.                                                               5:98cr8/LAC


MARCNEL ST. GEORGE


                                                 ORDER

        The defendant has filed a notice of appeal (doc. 465) which this court construes as
a request for a certificate of appealability. 1 Defendant appeals the court’s denial of his
Rule 60(b) motion.        (Doc. 464). Unless a certificate of appealability is issued, the
defendant may not take an appeal from the final order denying a Rule 60(b) motion.
Gonzalez v. Secretary of Department of Corrections, 317 F.3d 1308, 1312 (11th Cir. 2003).
A certificate of appealability should not issue in the appeal from the denial of a Rule 60(b)
motion in a habeas case unless the petitioner/defendant shows, at a minimum, that it is
debatable among jurists of reason whether the district court abused its discretion, see
Mobley v. Head, 306 F.3d 1096, 1097 (11th Cir. 2002) (“This Court reviews a denial of a
60(b) motion for an abuse of discretion.”). Because the court finds the defendant has not
made the requisite showing for the reasons stated in the court’s order denying the motion
(doc. 464), his request for a certificate of appealability is DENIED. Defendant has not filed
a motion for leave to proceed in forma pauperis. The court finds that the appeal is not
taken in good faith and he is not otherwise entitled to so proceed. Fed.R.App.P. 24(a)(3).




        1
         See Edwards v. United States, 114 F.3d 1083 (11TH Cir. 1997) (district courts must treat notices of
appeal in Section 2255 a ctions as applications for certificates of app ealability).
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Therefore, defendant shall pay the $455.00 filing fee within thirty days.


                 DONE AND ORDERED this 3rd day of October, 2007.


                                          s /L. A. Collier
                                          LACEY A. COLLIER
                                          SENIOR UNITED STATES DISTRICT JUDGE




Case No: 3:96cr57/RV; 3:03cv2/RV/MD
